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                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


LINDA NOONAN, an Individual,                                         Case No. 13-cv-00354-HU
                              Plaintiff,                DEFENDANT GOLDSTAR
                                                        ESTATE BUYERS
       V S.                                             CORPORATION'S MOTION TO
                                                        DISMISS
GOLDSTAR ESTATE BUYERS
CORPORATION,                                            Fed. R. Civ. P. 12(b)(6)
                              Defendant.                Request for Oral Argument



                                   LR 7-1 CERTIFICATION

       Pursuant to LR 7-1(a), the parties attempted to resolve this dispute in good faith through
telephone conferences, but were unable to do so without court assistance.
                                             MOTION
       Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Goldstar Estate Buyers Corporation
moves to dismiss Plaintiff's claims against it for failure to state a claim. See Ashcroft v. lqbal,
556 US 662, 129 S Ct 1937, 173 L Ed 2d 867 (2009).
       Plaintiff's first claim for breach of the duty of good faith and fair dealing fails because
courts do not imply such a duty into an employment contract with regard to termination.

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                   Plaintiff's second claim for wrongful discharge fails because Plaintiff has adequate statutory

                   remedies for her claims. Plaintiff's third claim for relief fails because the allegations do not give

                   rise to sufficiently outrageous conduct to amount to a claim for intentional infliction of emotional

                   distress. Finally, Plaintiff's fourth claim for negligence fails because Plaintiff has not alleged any

                   physical injury or a special relationship which could support her claim for economic damages.

                            This motion is supported by the accompanying Memorandum, and the record before the

                   court.


                   Dated: July 18, 2013

                                                                       By: /s/ Kjersten Turpen
                                                                          Christopher E. Hawk, OSB # 061635
                                                                          Kjersten Turpen, OSB # 025920
                                                                          Attorneys For:
                                                                          Defendant Goldstar Estate Buyers
                                                                          Corporation




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                                                         CERTIFICATE OF SERVICE

                                  I HEREBY CERTIFY that, on the 18thday of July, 2013, and pursuant to the Fed. R.
                          Civ. P., I filed and served via CM/ECF, a true and correct copy of the foregoing
                          DEFENDANT GOLDSTAR ESTATE BUYERS CORPORATION'S MOTION TO
                          DISMISS to all parties as identified on the Court-generated Notice of Electronic Filing
                          and/or Court docket including:


                          Aaron W. Baker                                  Tara Lawrence
                          650 Pioneer Tower                               Lawrence Law Office, P.C.
                          888 SW Fifth Avenue                             6915 SW Macadam Avenue, Suite 115
                          Portland OR 97204                               Portland, OR 97219
                          awblaw@eartlink.net                             tara@taralawrencelaw.com

                          Attorneys for Plaintiff                         Attorneys for Plaintiff

                                   Executed on July 18, 2013 at Portland, Oregon.


                                                                       GORDON & REES LLP

                                                                       By:    /s/ Kjersten Turpen
                                                                             Christopher E. Hawk (OSB #061635)
                                                                             Kjersten Turpen (OSB #025920)
                                                                             Of Attorneys for Defendant Goldstar
                                                                              Estate Buyers Corporation




                         CERTIFICATE OF SERVICE AND E-FILING
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